     Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 1 of 46




                UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                        ROME DIVISION

PUBLIC EMPLOYEES’ RETIREMENT
SYSTEM OF MISSISSIPPI, individually
and on behalf of all others similarly
situated,

                 Plaintiff,               Civ. A. No. 4:20-00005-ELR

     v.

MOHAWK INDUSTRIES, INC., and
JEFFREY S. LORBERBAUM,

                 Defendants.

      MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION
      TO DISMISS CONSOLIDATED CLASS ACTION COMPLAINT
        Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 2 of 46




                                           TABLE OF CONTENTS

                                                                                                                Page

TABLE OF AUTHORITIES ................................................................................... iii

I.      INTRODUCTION ...........................................................................................1

II.     FACTUAL BACKGROUND..........................................................................5

III.    ARGUMENT AND CITATION TO AUTHORITY ......................................8

        A.      The CC Fails to Satisfy the Heightened Pleading Standards
                That Govern a Motion to Dismiss a Shareholder Securities
                Class Action. .........................................................................................8

        B.      The CC Should be Dismissed Because It Fails to Plead an
                Actionable Misstatement or Omission. ...............................................10

                i.       The CC Does Not Adequately Allege Mohawk’s
                         Historical Statements Were False Or Misleading. ....................11

                ii.      The CC Fails to Allege Omissions Regarding the
                         Purported “Saturday Scheme” With the Requisite
                         Particularity. ..............................................................................14

                iii.     Corporate Puffery is Non-Actionable. ......................................19

                iv.      Conclusory Allegations Warrant Dismissal..............................21

        C.      The CC Fails to Plead The Essential Element of Scienter and
                Should Be Dismissed. .........................................................................21

                i.       The Scienter Allegations, Considered Collectively, Fail
                         to Support A Strong Inference of Scienter................................22

        D.      The CC Fails to Allege Loss Causation. .............................................31

        E.      The Section 20(a) Claim Against Mr. Lorberbaum Fails. ..................34




                                                          i
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 3 of 46




IV.   CONCLUSION..............................................................................................34




                                                     ii
          Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 4 of 46




                                      TABLE OF AUTHORITIES

                                                                                                              Page(s)
CASES

Barr v. Matria Healthcare, Inc.,
  324 F. Supp. 2d 1369 (N.D. Ga. 2004) ...................................................24, 31, 33

Basic Inc. v. Levinson,
  485 U.S. 224 (1988)............................................................................................10

Brophy v. Jiangbo Pharms., Inc.,
   781 F.3d 1296 (11th Cir. 2015) ..........................................................9, 22, 25, 28

Carter v. Furniture Brands Int’l, Inc.,
  No. 4:13CV1600 HEA, 2015 U.S. Dist. LEXIS 9016 (E.D. Mo.
  Jan. 27, 2015) ...................................................................................................... 15

Carvelli v. Ocwen Fin. Corp.,
  934 F.3d 1307 (11th Cir. 2019) ....................................................................11, 19

City of Monroe Emps. Ret. Sys. v. Bridgestone Corp.,
   399 F.3d 651 (6th Cir. 2005) .............................................................................. 19

City of Pontiac Gen. Emps. Ret. Sys. v Schweitzer-Mauduit Int’l, Inc.,
   806 F Supp. 2d 1267 (N.D. Ga. 2011) ................................................................16

City of Pontiac Gen. Emps. Ret. Sys. v. Stryker Corp.,
   865 F. Supp. 2d 811 (W.D. Mich. 2012) ............................................................14

City of Royal Oak Ret. Sys. v. Juniper Networks, Inc.,
   880 F. Supp. 2d 1045 (N.D. Cal. 2012) .............................................................. 20

Druskin v. Answerthink, Inc.,
  299 F. Supp. 2d 1307 (S.D. Fla. 2004) ...............................................................13

Dura Pharms., Inc. v. Broudo,
  544 U.S. 336 (2005).............................................................................................. 9

Durgin v. Mon,
  415 F. App’x 161 (11th Cir. 2011) .....................................................................26

                                                           iii
         Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 5 of 46




Durham v. Whitney Info. Network, Inc.,
  No. 06-CV-00687, 2009 U.S. Dist. LEXIS 113757 (M.D. Fla. Nov.
  10, 2009) .......................................................................................................32, 33

FindWhat Inv’r Grp. v. FindWhat.com,
   658 F.3d 1282 (11th Cir. 2011) ..........................................................................13

Garfield v. NDC Health Corp.,
  466 F.3d 1255 (11th Cir. 2006) ...................................................................passim

Gavish v. Revlon, Inc.,
  No. 00 Civ. 7291 (SHS), 2004 U.S. Dist. LEXIS 19771 (S.D.N.Y.
  Sept. 29, 2004) ................................................................................................4, 12

Hubbard v. BankAtlantic Bancorp, Inc.,
  625 F. Supp. 2d 1267 (S.D. Fla. 2008) ...............................................................29

In re AFC Enters. Sec. Litig.,
    348 F. Supp. 2d 1363 (N.D. Ga. 2004) ...............................................................28

In re Coca-Cola Enterprises Inc. Securities Litigation,
    510 F. Supp. 2d 1187 (N.D. Ga. 2007) ...................................................18, 19, 27

In re CornerStone Propane Partners, L.P. Sec. Litig.,
    355 F. Supp. 2d 1069 (N.D. Cal. 2005) .............................................................. 26

In re Downey Sec. Litig.,
    No. CV 08-3261-JFW, 2009 U.S. Dist. LEXIS 25007 (C.D. Cal.
    Mar. 18, 2009).....................................................................................................24

In re Flowers Foods, Inc. Sec. Litig.,
    No. 7:16-CV-222 (WLS), 2018 U.S. Dist. LEXIS 48048 (M.D. Ga.
    Mar. 23, 2018).....................................................................................................13

In re Galectin Therapeutics, Inc.,
    843 F.3d 1257 (11th Cir. 2016) ............................................................3, 9, 10, 34

In re Hutchinson Tech., Inc. Sec. Litig.,
    536 F.3d 952 (8th Cir. 2008) .............................................................................. 13


                                                           iv
          Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 6 of 46




In re Intel Corp. Sec. Litig.,
    No. 18-cv-00507-YGR, 2019 U.S. Dist. LEXIS 54615 (N.D. Cal.
    Mar. 29, 2019).....................................................................................................20

In re KLX, Inc. Sec. Litig.,
    232 F. Supp. 3d 1269 (S.D. Fla. 2017) ...................................................12, 26, 28

In re NDCHealth Corp. Securities Litigation,
    No. 1:04-cv-0970-WSD, 2005 U.S. Dist. LEXIS 43860 (N.D. Ga.
    July 27, 2005)..........................................................................................17, 18, 21

In re Peritus Software Servs., Inc.,
    52 F. Supp. 2d 211 (D. Mass. 1999) ...................................................................20

In re S1 Corp. Sec. Litig.,
    173 F. Supp. 2d 1334 (N.D. Ga. 2001) ...............................................................10

In re Spectrum Brands, Inc. Sec. Litig.,
    461 F. Supp. 2d 1297 (N.D. Ga. 2006) ........................................................passim

In re TransDigm Grp., Inc. Sec. Litig.,
    440 F. Supp. 3d 740 (N.D. Ohio 2020) .............................................................. 20

In re Watchguard Sec. Litig.,
    No. C05-678JLR, 2006 U.S. Dist. LEXIS 27217 (W.D. Wash. Apr.
    21, 2006) ............................................................................................................... 4

In re Witness Sys.,
    No. 1:06-CV-1894, 2008 U.S. Dist. LEXIS 109174 (N.D. Ga. Mar.
    31, 2008) ............................................................................................................. 31

Ind. State Dist. Council of Laborers & Hod Carriers Pension &
   Welfare Fund v. Omnicare, Inc.,
   583 F.3d 945 (6th Cir. 2009) .............................................................................. 13

Jones v. Perez,
   550 F. App’x 24 (2d Cir. 2013) ..........................................................................24

Kadel v. Flood,
  427 F. App’x 778 (11th Cir. 2011) ....................................................................... 3

                                                              v
          Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 7 of 46




Kinnett v. Strayer Educ., Inc.,
   501 F. App’x 890 (11th Cir. 2012) .....................................................................33

McDonald v. Kinder-Morgan, Inc.,
  287 F.3d 992 (10th Cir. 2002) ............................................................................13

Metro. Transp. Auth. Defined Ben. Pension Plan Master Tr. v.
  Welbilt, Inc.,
  No. 8:18-cv-3007-T-30AEP, 2020 U.S. Dist. LEXIS 33664 (M.D.
  Fla. Feb. 6, 2020) ....................................................................................25, 26, 28

Metzler Inv. GMBH v. Corinthian Colls., Inc.,
  540 F.3d 1049 (9th Cir. 2008) ............................................................................30

Meyer v. Greene,
  710 F.3d 1189 (11th Cir. 2013) ......................................................................2, 32

Mizzaro v. Home Depot, Inc.,
  544 F.3d 1230 (11th Cir. 2008) ...................................................................passim

Mogensen v. Body Cent. Corp.,
  15 F. Supp. 3d 1191 (M.D. Fla. 2014)..........................................................19, 27

Oxford Asset Mgmt., Ltd. v. Jaharis,
  297 F.3d 1182 (11th Cir. 2002) ............................................................................ 8

Rahman v. Kid Brands, Inc.,
  736 F.3d 237 (3d Cir. 2013) ............................................................................... 16

Santa Fe Indus., Inc. v. Green,
   430 U.S. 462 (1977)............................................................................................24

Sapssov v. Health Mgmt. Assocs.,
   608 F. App’x 855 (11th Cir. 2015) .....................................................................31

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
   551 U.S. 308 (2007)........................................................................................5, 30

Unschuld v. Tri-S Sec. Corp.,
  No. 1:06-CV-02931-JEC, 2007 U.S. Dist. LEXIS 68513 (N.D. Ga.
  Sept. 14, 2007) ...................................................................................................... 3
                                                           vi
          Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 8 of 46




Waterford Twp. Gen. Emps. Ret. Sys. v. CompuCredit Corp.,
  No. 1:08-CV-2270-TWT, 2009 U.S. Dist. LEXIS 112839 (N.D.
  Ga. Dec. 3, 2009) ................................................................................................ 26

RULES

Fed. R. Civ. P. 9(b) .................................................................................................... 9

17 C.F.R. § 240.10b-5 ....................................................................................9, 10, 22

STATUTES

15 U.S.C. § 78t(a) ......................................................................................5, 9, 22, 34

15 U.S.C. § 78u-4(b) .........................................................................................passim




                                                           vii
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 9 of 46




                              CITATION CONVENTIONS

“CC”: Plaintiff’s Consolidated Class Action Complaint for Violations of the Federal
Securities Laws (ECF No. 37)

“Class Period”: the putative class period, April 28, 2017 through July 25, 2019

“Decl.”: Declaration of Robert R. Long filed concurrently herewith

“Defendants”: Defendant Mohawk Industries, Inc. and Defendant Jeffrey S.
              Lorberbaum

“Exchange Act”: The Securities Exchange Act of 1934

“Ex.”: Exhibit to the Decl.

“FE”: former employee confidential witness

“FNA”: Mohawk’s Flooring North America division

“GAAP”: Generally Accepted Accounting Principles

“IVC”: IVC Group

“LVT”: luxury vinyl tile

“Mohawk” or the “Company”: Defendant Mohawk Industries, Inc.

“Mr. Carson”: Brian Carson, former Mohawk President of Flooring North America

“Mr. Lorberbaum”: Defendant Jeffrey S. Lorberbaum

“Plaintiff”: Plaintiff Public Employees’ Retirement System of Mississippi

“PSLRA”: Private Securities Litigation Reform Act of 1995, 15 U.S.C. §§ 78u-4,
         et seq.

“SEC”: United States Securities and Exchange Commission
                                        viii
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 10 of 46




      Defendants submit this memorandum of law in support of their Motion to

Dismiss Plaintiff’s CC (cited herein as “¶ _”).

 I.   INTRODUCTION

      The CC has not and cannot state a claim for securities fraud. Despite all of

the ink spilled penning the CC—416 paragraphs across nearly 200 pages—the CC

offers nothing more than half-baked conspiracy theories and innuendo. Cobbling

together vague allegations by unnamed former Mohawk employees and concluding

there must have been securities fraud is just not enough. A close look reveals gaps

in logic and holes in the narrative that compel dismissal of this lawsuit.

      The CC’s basic premise is that Mohawk, the largest flooring company in the

world, engaged in a secret accounting fraud scheme masterminded by the president

of one (of three) of its business segments in order to inflate the Company’s stock by:

(1) improperly recognizing some unstated amount of revenue by feigning deliveries

and forcing customers to accept products they did not want or order; (2) inexplicably

producing more than it could sell of just two products out of more than fifteen total

Company product categories in order to inflate its margins; and (3) failing to disclose

that its new domestically-manufactured LVT, which represented just a tiny portion

of Mohawk’s overall revenue, was not performing perfectly from the start.




                                          1
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 11 of 46




      In support of this theory, the CC relies on purported statements from 14

unnamed FEs in a company with more than 41,000 employees. Not one of those

employees was a corporate-level executive, and, even though the CC’s theory is

based on allegedly fraudulent accounting, none had any visibility into Mohawk’s

corporate accounting function. This explains all the CC’s gaps and holes.

      Indeed, far more important than what the CC alleges is what the CC does not

allege. The CC does not allege that the Company’s financials reported during the

Class Period were inaccurate or require restatement. It does not allege the amount

of the supposed misstated revenues and inflated margins. It does not allege that any

of the FEs were knowledgeable about the Company’s accounting or corporate

finances. It does not allege that Mr. Lorberbaum had any plausible motive to engage

in the alleged schemes. And, finally, it does not allege how the purported fraud-

induced inflation could have been subsequently removed from the Company’s stock

price when the purported schemes were never “revealed” to the public.

      The Eleventh Circuit is clear: the federal securities laws should not be treated

as “a system of investor insurance that reimburses investors for any decline in the

value of their investments.”1 Indeed, the heightened pleading requirements of the


1
 Meyer v. Greene, 710 F.3d 1189, 1196 (11th Cir. 2013) (internal quotations
omitted).

                                          2
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 12 of 46




PSLRA, which govern this case, were adopted by Congress in order to “deter or at

least quickly dispose of” lawsuits like this one “whose nuisance value outweigh[ ]

their merits.”2 Accordingly, the Eleventh Circuit routinely affirms this Court’s

decisions dismissing shareholder securities class actions at this stage for failure to

meet the stringent requirements of the PSLRA.3 The present action should likewise

be dismissed for the reasons described below.

      First, the CC fails to allege an actionable misstatement or omission under

Section 10(b) of the Exchange Act. The CC asserts that Mohawk’s operational

results during the Class Period were rendered misleading because the Company

purportedly failed to disclose alleged “schemes” underlying those results. Yet

Mohawk never restated its Class Period financials and the CC fails to specify what

effect the purported fraudulent practices had on those reported financial results. The

allegations about the so-called “Saturday Scheme” are likewise devoid of the

requisite detail.   To the contrary, such end-of-quarter or year-end pushes are



2
 Unschuld v. Tri-S Sec. Corp., No. 1:06-CV-02931-JEC, 2007 U.S. Dist. LEXIS
68513, at *7-8 (N.D. Ga. Sept. 14, 2007).
3
 See, e.g., In re Galectin Therapeutics, Inc., 843 F.3d 1257, 1269 (11th Cir. 2016);
Kadel v. Flood, 427 F. App’x 778, 780 (11th Cir. 2011); Mizzaro v. Home Depot,
Inc., 544 F.3d 1230, 1236-37 (11th Cir. 2008); Garfield v. NDC Health Corp., 466
F.3d 1255, 1262 (11th Cir. 2006).


                                          3
       Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 13 of 46




“common practice.”4 Moreover, the alleged affirmative misstatements regarding

Mohawk’s LVT are immaterial corporate puffery, at worst, and immune from

liability.

       Second, even if the CC identified an actionable misstatement or omission—

which it does not—the Section 10(b) claims fail because the CC lacks particularized

facts supporting a strong inference of scienter. The CC relies upon “should have

known” allegations based on the purported scope of the fraud, Mr. Lorberbaum’s

position at the Company, his supposed access to information, and allegations by

unnamed FEs, none of whom were involved in the Company-wide accounting. Such

allegations do not meet the PSLRA requirements.

       Third, the CC does not plead facts supporting the independent element of loss

causation. None of the purported corrective disclosures identified the schemes

described or even gestured to the alleged fraud, rather, they were the routine

announcements of Mohawk’s quarterly earnings. The CC makes no attempt to

disaggregate the stock price decline attributable to these announcements of


4
  Gavish v. Revlon, Inc., No. 00 Civ. 7291 (SHS), 2004 U.S. Dist. LEXIS 19771, at
*45 (S.D.N.Y. Sept. 29, 2004); see also In re Watchguard Sec. Litig., No. C05-
678JLR, 2006 U.S. Dist. LEXIS 27217, at *24-25 (W.D. Wash. Apr. 21, 2006)
(confirming there is “nothing wrong” with companies taking steps to
“encourage end-of-quarter sales”).


                                         4
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 14 of 46




disappointing financial results from the decline it alleges resulted from the purported

fraud. Accordingly, the CC fails to allege loss causation.

      Finally, the Section 20(a) claim for control-person liability fails because no

primary predicate violation of the securities laws is alleged.

      For these reasons, the CC should be dismissed with prejudice.

II.   FACTUAL BACKGROUND

      Mohawk is the world’s largest flooring company.5 It manufactures and

distributes a wide range of products including carpet, rugs, ceramic tile, laminate,

wood, stone, LVT, and sheet vinyl flooring. Id. at 3. Mohawk sells its products to

distributors, builders, and retailers worldwide, including some of the most

recognizable names in home improvement. ¶ 46. Mohawk exports products to more

than 170 countries and maintains operations all over the world. Decl. Ex. A at 4.

      Mr. Lorberbaum has helmed the Company since he became the Chief

Executive Officer in 2001, and has served as Chairman of the Mohawk Board of

Directors since 2004. ¶ 39. The Company is divided into three distinct business

segments, each encompassing its own unique brands and products. Decl. Ex. A at


5
  See Mohawk Form 10-K, dated Feb. 28, 2020, at 3, attached as Ex. A to the Decl.
filed concurrently herewith. On a motion to dismiss, the Court may consider the full
text of documents incorporated into the CC by reference and matters of which the
Court may take judicial notice, such as public filings and other public statements.
See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007).
                                          5
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 15 of 46




3.   The Global Ceramic segment is the largest manufacturer, distributor, and

marketer of ceramic tile and natural stone in the world. Id. at 9. The Flooring Rest

of the World segment manufactures, sources, and distributes a range of flooring

products, roofing panels, and insulation boards for Mohawk’s customers outside of

North America. Id. at 26. FNA, the only business segment implicated in the CC,

was responsible for just over one-third of Mohawk’s net sales in 2019. Id. at 3.

Although the CC’s allegations relate only to the Company’s carpet and LVT

products, Mohawk’s FNA business spans numerous other robust product lines

including carpet tile, rugs, mats, carpet pad, laminate, fiberboard, wood flooring, and

sheet vinyl. Id.

      Beginning in 2014, the global flooring market shifted dramatically in response

to an unprecedented increase in demand for LVT worldwide. ¶¶ 55-57. LVT’s

overnight success is attributable to the fact that LVT provides the look of traditional

wood or stone flooring at a lower cost. ¶ 8. The impact of the introduction of LVT

on the flooring market was profound. From 2014 to 2016 alone, LVT sales volume




                                          6
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 16 of 46




increased nearly 50%. ¶ 58. The LVT boom reduced demand for non-LVT flooring

products and negatively affected those categories.6

      To capitalize on the growing demand for LVT, Mohawk purchased IVC in

2015. ¶ 62. IVC, a leading LVT manufacturer, maintained an established LVT plant

in Belgium and was in the process of constructing a domestic LVT plant in Dalton,

Georgia.7 This acquisition positioned Mohawk as a major participant in the fast

growing LVT category and allowed it to manufacture LVT domestically,

capitalizing on IVC’s expertise. Decl. Ex. C at 1. The acquisition also differentiated

Mohawk from its competitors who lacked domestic LVT manufacturing and had to

rely solely on imported product.      ¶¶ 10, 61. In the years following the IVC

acquisition, Mohawk continued to improve its domestic LVT manufacturing

capabilities.8 In 2019, the Company’s LVT production lines operated at a speed on

par with IVC’s more established Belgian operations. Decl. Ex. D. Presently,



6
 Letter to Shareholders, Mohawk 2018 Annual Report,
http://www.corporatereport.com/mohawk/2018/ar/Mohawk_2018_Annual_Report.
pdf. (Decl. Ex. B).
7
 Mohawk Press Release, Mohawk Industries Inc. Announces Purchase of IVC
Group dated Jan. 13, 2015. (Decl. Ex. C).
8
 Letter to Shareholders, Mohawk 2019 Annual Report,
https://ir.mohawkind.com/static-files/250e3467-50b7-4c7c-8397-67d515deb533.
(Decl. Ex. D).
                                          7
       Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 17 of 46




Mohawk is one of the largest manufacturers and distributors of LVT in the United

States. Decl. Ex. A at 9.

       Throughout the Class Period, the Company kept investors informed regarding

management’s expectations, the headwinds the Company faced, and its

performance. For instance, Mohawk timely disclosed its financial results when the

second and third quarters of 2018 fell short of the Company’s forecasts. ¶¶ 238-39.

Mohawk’s stock price declined following each of these quarterly announcements.

¶¶ 242, 249. In the second quarter of 2019, Mohawk likewise disclosed challenges

facing the Company, and announced lower quarterly sales in its FNA segment. ¶

253. Again, on the news, Mohawk’s stock price decreased. ¶ 254.

III.   ARGUMENT AND CITATION TO AUTHORITY

       A. The CC Fails to Satisfy the Heightened Pleading Standards That
          Govern a Motion to Dismiss a Shareholder Securities Class Action.

       A 12(b)(6) motion to dismiss tests the legal sufficiency of the claims asserted.

To survive this challenge, the CC “must not simply make bare assertions of legal

conclusions.” In re Spectrum Brands, Inc. Sec. Litig., 461 F. Supp. 2d 1297, 1305-

06 (N.D. Ga. 2006). While the Court must accept as true well-pleaded facts alleged

in the CC, “conclusory allegations, unwarranted deductions of facts or legal

conclusions masquerading as facts will not prevent dismissal.” Oxford Asset Mgmt.,

Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002).

                                           8
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 18 of 46




      In order to state a claim under Section 10(b) and corresponding Rule 10b-5,

17 C.F.R. § 240.10b-5, the CC must sufficiently allege six distinct elements: “(1) a

material misrepresentation or omission; (2) made with scienter; (3) a connection

with the purchase or sale of a security; (4) reliance on the misstatement or omission;

(5) economic loss; and (6) a causal connection between the material

misrepresentation or omission and the loss, commonly called ‘loss causation.’”

Mizzaro, 544 F.3d at 1236-37 (citing Dura Pharms., Inc. v. Broudo, 544 U.S. 336,

341-42 (2005)). The failure to plead even one of these elements properly mandates

dismissal. See, e.g., Brophy v. Jiangbo Pharms., Inc., 781 F.3d 1296, 1307-08 (11th

Cir. 2015) (holding where scienter was inadequately alleged, the court “need not

address the other elements of a Section 10(b) violation or the corollary Section 20(a)

claim”).

      Moreover, the CC must satisfy both the special fraud pleading requirements

of Fed. R. Civ. P. 9(b) and the heightened pleading standards of the PSLRA.

Galectin Therapeutics, 843 F.3d at 1269. This requires “more than the alleging of a

reasonable hypothesis of fraud”—it “requires specific facts to show a fraud occurred

through particular statements or omissions made with the intent to mislead.”

Spectrum Brands, 461 F. Supp. 2d at 1306 (citing 15 U.S.C. § 78u-4(b)). Where

these exacting standards are not met, “the Court must dismiss the complaint.” Id.

                                          9
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 19 of 46




(emphasis added); see also Galectin Therapeutics, 843 F.3d at 1270 (“If these

PSLRA pleading requirements are not satisfied, the court ‘shall’ dismiss the

complaint.”).

      Here, the CC should be dismissed with prejudice because it fails to plead an

actionable misstatement or omission, fails to plead scienter, and fails to plead loss

causation.

      B. The CC Should be Dismissed Because It Fails to Plead an Actionable
         Misstatement or Omission.

      The threshold requirement to state a Section 10(b) claim is the identification

of a materially false or misleading statement or omission. 15 U.S.C. § 78u-4(b)(1).

To comply with the PSLRA and avoid dismissal, a complaint must specify (1) “each

statement alleged to have been misleading” and (2) “the reason or reasons why the

statement is misleading,” stating “with particularity all facts on which that belief is

formed.” Garfield, 466 F.3d at 1262. For omissions, “[s]ilence, absent a duty to

disclose, is not misleading under Rule 10b-5.” Galectin Therapeutics, 843 F.3d at

1274 (quoting Basic Inc. v. Levinson, 485 U.S. 224, 239 n.17 (1988)). Thus, for

omissions, “the question is not simply whether the defendants omitted information

potentially of interest to investors,” rather, “[t]o be actionable, the omission must

render the statements actually made misleading.” In re S1 Corp. Sec. Litig., 173 F.

Supp. 2d 1334, 1350 n.12 (N.D. Ga. 2001).

                                          10
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 20 of 46




      Here, the CC is premised on a sweeping omissions theory positing that nearly

every earnings call, press release, quarterly and annual SEC filing for nine quarters

was rendered false and misleading because Defendants purportedly concealed “the

true reasons”—i.e. the various alleged schemes purportedly masterminded by Mr.

Carson—“for Mohawk’s reported record-breaking quarterly sales and margins,

rising inventory, and slowing turnover.” See, e.g., ¶¶ 237, 259-61, 263.9 What the

CC does not explain, however, is why the omission of the alleged schemes made

those statements misleading.      Because the CC fails to plead an actionable

misstatement or omission, it must be dismissed regardless of the allegations

concerning the remaining elements of a Section 10(b) claim. Carvelli, 934 F.3d at

1329 (affirming dismissal for failure to state a misstatement or omission).

               i.   The CC Does Not Adequately Allege Mohawk’s Historical
                    Statements Were False Or Misleading.

      The CC alleges Mohawk’s reported operational results, including quarterly

sales, inventory figures, days-in-inventory metrics,10 and quarterly margins, were


9
 The CC also alleges an affirmative misstatement from the Company’s first quarter
2017 Earnings Call. ¶¶ 94-95, 262, 273. As explained in greater detail below, the
challenged statement is immaterial puffery and thus inactionable. See Carvelli v.
Ocwen Fin. Corp., 934 F.3d 1307, 1318 (11th Cir. 2019).
10
  The fact that the Company disclosed that days-in-inventory were rising, when, as
the CC concedes, “a high [days-in-inventory] may indicate slowing sales or poor

                                         11
        Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 21 of 46




misleading because Mohawk failed to disclose the purported schemes underlying

those results.11 But aside from vague and conclusory assertions that quarterly sales

and margins were “artificially inflated” by some unspecified amount, the CC does

not dispute that Mohawk’s financial results were accurate and does not challenge the

“legitimate factors” to which Mohawk attributed those results.

         “Absent more particularized allegations of knowingly fraudulent conduct” the

CC “plead[s] little more than neutral facts which happen to be consistent with

plaintiffs’ theory of how [Mohawk] fraudulently overstated its sales” yet “a general

allegation that the practices at issue resulted in a false report of company sales is not

a sufficiently particular claim of misrepresentation.” Gavish, 2004 U.S. Dist. LEXIS

19771, at *45-46 (internal quotations omitted). In fact, the CC even fails to allege

the purportedly inflated revenues and margins were material in terms of the

Company’s overall reported financials. This is insufficient to support a claim. Id.




inventory management” and “a low [days-in-inventory calculation] is preferred” (¶
97), actually cuts against an inference of fraud. See, e.g., In re KLX, Inc. Sec. Litig.,
232 F. Supp. 3d 1269, 1282 (S.D. Fla. 2017) (holding that “disclosure of negative
information. . . contradicts the [complaint’s] theory”).
11
     See ¶¶ 259-61, 263 (enumerating alleged omissions).
                                           12
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 22 of 46




at *47-48 (explaining that a complaint must “demonstrate the materiality of the

alleged overstatements in light of the defendant’s total financial picture”).

      Indeed, Mohawk has not restated its Class Period financial results, nor does

the CC allege such restatement is required.        The absence of any restatement

undermines plaintiffs’ claims of falsity. See Druskin v. Answerthink, Inc., 299 F.

Supp. 2d 1307, 1323 (S.D. Fla. 2004) (finding “significant lack of indicia of fraud”

was based in part on lack of restatements); Ind. State Dist. Council of Laborers &

Hod Carriers Pension & Welfare Fund v. Omnicare, Inc., 583 F.3d 945 (6th Cir.

2009) (noting alleged accounting violation was “substantially undercut . . . by the

lack of any financial restatements”); In re Hutchinson Tech., Inc. Sec. Litig., 536

F.3d 952, 959-60 (8th Cir. 2008) (holding “allegations that earnings were overstated

fail[ed] under the PSLRA” where defendant “never restated its financials.”).

      Moreover, accurately reported financial information is not rendered

misleading by a failure to disclose conditions that might make future results less

favorable. See In re Flowers Foods, Inc. Sec. Litig., No. 7:16-CV-222 (WLS), 2018

U.S. Dist. LEXIS 48048, at *27 (M.D. Ga. Mar. 23, 2018) (“The Eleventh Circuit

has already held that ‘[f]actual recitations of past earnings, so long as they are

accurate, do not create liability under Section 10(b).’”) (quoting FindWhat Inv’r

Grp. v. FindWhat.com, 658 F.3d 1282, 1306 (11th Cir. 2011)); see also McDonald

                                          13
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 23 of 46




v. Kinder-Morgan, Inc., 287 F.3d 992, 998 (10th Cir. 2002) (“It is well-established

that the accurate reporting of historic successes does not give rise to a duty to further

disclose contingencies that might alter the revenue picture in the future.”). The CC

does not specifically allege that the Company’s failure to disclose the purported

schemes rendered Mohawk’s financial results inaccurate, and, accordingly, fails to

allege Mohawk had a duty to make further affirmative disclosures about those

alleged practices. City of Pontiac Gen. Emps. Ret. Sys. v. Stryker Corp., 865 F. Supp.

2d 811, 823-24 (W.D. Mich. 2012).

              ii.   The CC Fails to Allege Omissions Regarding the Purported
                    “Saturday Scheme” With the Requisite Particularity.

      Not only does the CC fail to adequately allege why the Company’s reported

financials were misleading as required under the PSLRA, the allegations regarding

the so-called “Saturday Scheme”12 in particular lack the necessary specificity to

support a claim. The CC does nothing more than “present a number of generalized

conclusory allegations, supplement them with a few averments of specific fact, and,

from that mix, offer their conclusion that securities fraud occurred[,]” but this Court



12
  The CC alleges a “Saturday Scheme” whereby at the end of certain financial
quarters, Mohawk employees were instructed to load Company trucks on Fridays
and “pretend” to deliver goods on Saturdays to customers they knew were closed in
order to inappropriately recognize revenue. See ¶¶ 2, 109-56. This terminology is
used for clarity only; Defendants do not concede the existence of any such scheme.
                                           14
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 24 of 46




has held that the PSLRA “requires more than a reasonable hypothesis drawn mostly

from general observations.” Spectrum Brands, 461 F. Supp. 2d at 1307.

      The CC describes purportedly ill-advised Saturday deliveries and unwanted

shipments of products at the end of certain fiscal quarters during the Class Period

and summarily concludes such practices “contravened the Company’s stated sales

revenue-recognition policies, as well as GAAP.” ¶ 151. There are two fatal

deficiencies in the CC’s Saturday Scheme allegations.

      The first fatal deficiency is that the unnamed FEs upon whose testimony these

allegations are based are not alleged to have participated in either Mohawk’s

accounting or preparation of its quarterly financial reports. For example, FEs 3, 4,

and 7, a manager of a single distribution center manager, a regional operations

manager, and a distribution and plant manager, respectively, are not alleged to have

been involved in revenue recognition for quarter-end sales, nor is a foundation for

their knowledge of the same set forth in the CC. This does not satisfy the PSLRA

requirements. See Carter v. Furniture Brands Int’l, Inc., No. 4:13CV1600 HEA,

2015 U.S. Dist. LEXIS 9016, at *20-21 (E.D. Mo. Jan. 27, 2015) (“[W]ithout factual

allegations building a foundation for how the [confidential employee witness] had

knowledge as to when, how, and if revenue was recognized for the inventory loaded




                                        15
        Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 25 of 46




on the trailers [at quarter-end], Plaintiffs’ allegations to that effect fail to meet the

[PSLRA’s] heightened pleading standard.”)

         There are also no allegations explaining how FE5, a sales manager, would

have any insight into Mohawk’s accounting practices. Thus, the allegations based

on FE5’s observations should be disregarded. See City of Pontiac Gen. Emps. Ret.

Sys. v Schweitzer-Mauduit Int’l, Inc., 806 F Supp. 2d 1267, 1296-97 (N.D. Ga.

2011) (“[R]eliance on confidential witnesses [in a securities case] is permissible

only so long as the complaint unambiguously provides in a cognizable and detailed

way the basis of the whistleblower’s knowledge.”). Further, FE6, a Logistics

Business Analyst from “January 2019 until April 2020”13 was present for only one

quarter during the Class Period and therefore would have limited knowledge of

Mohawk’s quarter-end practices. In any event, the allegations attributed to FE6 are

improperly conclusory. See Rahman v. Kid Brands, Inc., 736 F.3d 237, 245 (3d Cir.

2013) (discrediting allegations based on a confidential witness who spent five years

reviewing company internal financial information but who “offer[ed] little more than

generalized allegations with few specifics and even less concrete support”).




13
     ¶ 121.

                                           16
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 26 of 46




      The second fatal deficiency of the Saturday Scheme allegations is the CC

makes no attempt to quantify the purportedly improperly recognized revenue from

these transactions. Instead, the CC relies on the guesswork of non-executive-level

former employees that “the amount of product the Company pretended to deliver on

the last Saturday of each quarter” was approximately “four to five million pounds of

product.” ¶ 133.

      The CC does not allege (i) the estimated value of those products, (ii) the

revenue recognized on those product sales, or (iii) the resulting impact on Mohawk’s

overall reported financials. This is not enough. See, e.g., Spectrum Brands, 461 F.

Supp. 2d at 1310-11 (dismissing complaint without “facts sufficient to show whether

the alleged channel-stuffing practices were widespread or anecdotal, whether they

involved hundreds rather than millions of dollars worth of product”).

      For instance, in In re NDCHealth Corp. Securities Litigation,14 this Court

considered analogous allegations regarding improper revenue recognition practices

that “purportedly inflated the Company’s earnings and caused [the Company’s]

financial reporting throughout the Class Period to be materially false and

misleading.” Judge Duffey explained that, as here, “[t]he absence of allegations


14
  No. 1:04-cv-0970-WSD, 2005 U.S. Dist. LEXIS 43860, at *44 (N.D. Ga. July
27, 2005).

                                        17
        Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 27 of 46




about these transactions [was] striking” and found plaintiff had “not satisfied its

obligation to plead a detailed factual basis for its allegations of fraud.” Id. Judge

Duffey further explained:

        [H]ow often these transactions occurred or the economic impact of
        them does not provide any basis to show whether the practices were
        anecdotal or widespread, involved hundreds or millions of dollars, or
        involved small or large groups of employees. Plaintiff necessarily has
        to rely on speculative conclusions, which are inadequate to meet the
        fundamental pleading requirement in this case.
Id.

        Likewise, in In re Coca-Cola Enterprises Inc. Securities Litigation15 Judge

Thrash dismissed similar allegations of improper revenue recognition for failing to

meet the particularity requirements of the PSLRA. Judge Thrash explained a

complaint “must state sufficient facts to give the Court confidence that the plaintiff

can relate specific transactions to specific misstatements in sales projections or

financial statements” which requires plaintiff to “allege facts that show that the

amount of sales or revenue improperly recognized is material in relation to the size

of the company’s operations.” Id. at 1197-98 (dismissing complaint based on former

employees’ observations where plaintiff failed to “allege the amount of revenue that




15
     510 F. Supp. 2d 1187, 1196 (N.D. Ga. 2007).

                                         18
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 28 of 46




was improperly recognized as a result of these transactions” and the “the date of any

specific transaction.”) (emphasis added).

      Just like in this Court’s prior decisions, in the present case, the “crucial

element missing” from the Saturday Scheme allegations “is any indication of the

amount of revenue that was improperly recognized.”           Id.   Accordingly, the

allegations regarding the Saturday Scheme fail.

             iii.   Corporate Puffery is Non-Actionable.

      Not only are the omissions set forth in the CC unavailing, but the purported

affirmative misstatement also misses the mark. See ¶¶ 94-95, 262, 273 (alleging

statement “[w]ith their superior design and performance, our flexible, rigid and

commercial LVT collections are being well accepted across all channels” was an

actionable misstatement).     This contested statement is exactly the sort of

“generalized, vague, nonquantifiable statements of corporate optimism” that the

Eleventh Circuit has previously found inactionable. Carvelli, 934 F.3d at 1318; see

also Mogensen v. Body Cent. Corp., 15 F. Supp. 3d 1191, 1211 (M.D. Fla. 2014)

(explaining “courts both within and outside of this circuit have agreed that such

statements are immaterial as a matter of law and therefore inactionable.”).

Numerous courts have held nearly identical statements were immaterial corporate

puffery. See, e.g., City of Monroe Emps. Ret. Sys. v. Bridgestone Corp., 399 F.3d


                                         19
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 29 of 46




651, 670-71 (6th Cir. 2005) (“[S]tatements describing a product in terms of ‘quality’

or ‘best’ . . . are too squishy, too untethered to anything measurable, to communicate

anything that a reasonable person would deem important to a securities investment

decision.”); In re Peritus Software Servs., Inc., 52 F. Supp. 2d 211, 220 (D. Mass.

1999) (statement that company’s product was enjoying “unprecedented market

demand” was non-actionable puffery); City of Royal Oak Ret. Sys. v. Juniper

Networks, Inc., 880 F. Supp. 2d 1045, 1064 (N.D. Cal. 2012) (dismissing immaterial

statements about company’s “strong demand metrics”); In re Intel Corp. Sec. Litig.,

No. 18-cv-00507-YGR, 2019 U.S. Dist. LEXIS 54615, at *33 (N.D. Cal. Mar. 29,

2019) (statements about “outstanding performance” of product were vague and

immaterial as a matter of law); In re TransDigm Grp., Inc. Sec. Litig., 440 F. Supp.

3d 740, 763 (N.D. Ohio 2020) (statements regarding the “‘strength’ and ‘quality’ of

[the company’s] products” were immaterial puffery).

      Moreover, the CC offers no corresponding explanation why this specific

statement was false at the time it was made beyond repeating the same laundry list

of allegations about the Company’s LVT based on anecdotal observations of former

employee confidential witnesses. This fails to pass muster under the PSLRA.




                                         20
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 30 of 46




              iv.   Conclusory Allegations Warrant Dismissal.

      The CC additionally takes issue with the statement from the third quarter 2017

earnings call that Mohawk was “selling all of [LVT] we could have” [sic]. ¶¶ 260,

297-98. But the allegedly omitted information— (i) a glut of “scrap LVT . . . marked

not to be sold,” (ii) the characterization of Mohawk’s U.S. LVT as “unsalable,” and

(iii) high rates of returns of LVT product—do not contradict this statement. Even

accepting as true the CC’s allegations that much of Mohawk’s U.S.-manufactured

LVT was “unsalable” and marked “not to be sold,” the Company’s statement that

Mohawk was selling all of the LVT it “could have”—i.e. the portion of LVT that

was “salable”—would not be false. This statement is therefore not actionable.

NDCHealth Corp., 2005 U.S. Dist. LEXIS 43860, at *39 (“If a complaint fails

to plead facts that, if true, would constitute a misrepresentation, and does nothing

more than offer the legal conclusion that a representation was somehow misleading,

dismissal of plaintiffs’ claims is appropriate.”) (internal citation omitted).

      C. The CC Fails to Plead The Essential Element of Scienter and Should
         Be Dismissed.

      Because the CC fails to allege an actionable misstatement or omission, the

analysis is complete and the CC should be dismissed. Nevertheless, the CC warrants

dismissal for the separate and independent reason that the scienter allegations fall

far short of the PSLRA’s heightened pleading requirements.

                                           21
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 31 of 46




      The PSLRA requires that “the complaint shall, with respect to each act or

omission alleged . . . , state with particularity facts giving rise to a strong inference

that the defendant acted with the required state of mind.” 15 U.S.C. § 78u-4(b)(2).

Thus, the CC cannot “plead the requisite scienter element generally[,]” rather, “[i]n

this Circuit, [Section] 10(b) and Rule 10b-5 require a showing of either an ‘intent to

deceive, manipulate, or defraud’, or ‘severe recklessness.’” Brophy, 781 F.3d at

1302. Moreover, the Eleventh Circuit has recognized that, as is the case here,

“scienter is diluted to the extent it is drawn from multiple predicate inferences that

are each based on the same allegations.” Id. at 1304; see also Garfield, 466 F.3d at

1265. Where the CC fails to adequately allege a strong inference of scienter, the

Court “need not address the other elements of a Section 10(b) violation or the

corollary Section 20(a) claim.” Brophy, 781 F.3d at 1307-08.

               i.   The Scienter Allegations, Considered Collectively, Fail to
                    Support A Strong Inference of Scienter.

      The CC takes a kitchen-sink approach to scienter, throwing all manner of

allegations at the wall hoping some will stick. Considering these allegations

holistically, as the law requires, they do not add up to a strong inference of scienter.

The sum of many zeroes is still zero.

      Anecdotal Allegations By Confidential Former Employee Witnesses Do Not

Support Scienter. As previously described, the fraudulent schemes alleged in the

                                           22
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 32 of 46




CC hinge on purported statements by 14 unnamed FEs, none of whom were

corporate-level executives or had any involvement in either the Company’s

accounting or the preparation of its public filings.16 Accordingly, at best, their

allegations about the Company’s accounting practices would require “speculation

and conjecture, precisely that which the PSLRA seeks to avoid.” Spectrum Brands,

461 F. Supp. 2d at 1310-12.

      Moreover, the allegations by the FEs about (i) the purpose of the alleged

Saturday quarter-end pushes and corresponding effect on revenue, (ii) the

ramifications of the alleged quality issues with the U.S. LVT, and (iii) the perceived

overproduction of certain products on the Company’s financials are impermissibly


16
   The only FE alleged to have any accounting role is FE2, who is relegated to a
single paragraph regarding Mr. Carson’s Sarbanes-Oxley Act of 2002 (“SOX”)
certifications. ¶ 45. Notably, no other accounting-related allegations are attributed
to him. Considering the vast fraudulent accounting schemes described in the CC,
one would expect the sole FE purportedly knowledgeable of Mohawk’s accounting
would be the source of more of the substantive allegations. In fact, none of the other
FEs are plausibly alleged to have insight into the Company’s accounting practices
given their lower-level and operational positions and lack of involvement in the
preparation of the Company’s public statements. The knowledge of FEs 1-7 is
addressed in greater detail herein. See supra pp. 15, 16, and infra pp. 29-31. FEs 8-
14 are alleged to have held non-senior positions in distribution operations, claims
and customer care, product development, sales, and at the warehouse level. ¶¶ 138,
143, 169, 172, 202, 207, and 209. Any assertion that they can speak with authority
about Mohawk’s accounting practices and senior management’s knowledge defies
common sense.



                                         23
        Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 33 of 46




conclusory. See, e.g., In re Downey Sec. Litig., No. CV 08-3261-JFW (RZx), 2009

U.S. Dist. LEXIS 25007, at *37-38 (C.D. Cal. Mar. 18, 2009) (statements by 13

confidential witnesses held insufficient to establish scienter where they were “vague

and conclusory” and “based on hearsay, rumor or speculation”); Jones v. Perez, 550

F. App’x 24, 28 (2d Cir. 2013) (confidential witness’ assertions about Company’s

financial state found insufficient “because none of the confidential witnesses

assert[ed] direct knowledge that this view was held by defendants”). At most, the

FE allegations support a corporate mismanagement theory,17 which cannot be the

basis for a securities claim. Barr v. Matria Healthcare, Inc., 324 F. Supp. 2d 1369,

1383-84 (N.D. Ga. 2004) (“The securities laws regulate disclosure of information,

not the management or mismanagement of a company.”) (citing Santa Fe Indus.,

Inc. v. Green, 430 U.S. 462, 479 (1977)).

        The Alleged Magnitude of the Purported Fraud Does Not Support A Strong

Inference of Scienter. The CC further alleges that the “sheer breadth, magnitude,

number of people involved, and scope of the [Saturday Scheme] provides . . . support

from which to infer Defendants’ scienter” and the “size and scope of Mohawk’s

‘scrap’ LVT buildup supports a strong inference of scienter.” ¶¶ 353, 363-65. These


17
     Defendants do not concede any corporate mismanagement occurred.



                                         24
        Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 34 of 46




allegations fail because the CC is silent as to the financial impact of the purported

schemes.18 As the Circuit Court explained, “[w]ithout more specifics, the investors

cannot persuasively allude to the magnitude of the fraud as a basis for a strong

inference” of fraud. Brophy, 781 F.3d at 1304-05 (claim “fraud was too large for

[the CFO defendant] not to have noticed [was] unpersuasive”); see also Mizzaro,

544 F.3d at 1251 (declining to “infer[ ] from the dollar amount [of the fraud] the

knowledge of senior management”).

         Mr. Carson’s Alleged Scienter Cannot Be Imputed to Mr. Lorberbaum, Nor

Does Mr. Carson’s Separation Support Scienter.           The CC must allege facts

supporting a strong inference of scienter “for each defendant with respect to each

violation.” Id. at 1238 (emphasis added).         Accordingly, scienter allegations

regarding Mr. Carson19—who is not named as a defendant in the present action—

have no bearing on Mr. Lorberbaum’s state of mind. Moreover, the CC asserts that

Mr. Carson’s separation from Mohawk “strengthens the scienter inference,” see ¶


18
     See above Section III(B).
19
  See, e.g. ¶¶ 45, 358-61, 366-68, 374, 378. For example, the CC alleges Mr. Carson
certified the Company’s financials in accordance with the SOX requirements. ¶¶ 45,
358. Not only do these allegations have nothing to do with Mr. Lorberbaum, they
are insufficient to demonstrate scienter in any event. See Garfield, 466 F.3d at 1267;
Metro. Transp. Auth. Defined Ben. Pension Plan Master Tr. v. Welbilt, Inc., No.
8:18-cv-3007-T-30AEP, 2020 U.S. Dist. LEXIS 33664, at *12-13 (M.D. Fla. Feb.
6, 2020).
                                         25
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 35 of 46




356, but “notable departures are not in and of themselves evidence of scienter” given

that most “stock losses are often accompanied by management departures.” In re

CornerStone Propane Partners, L.P. Sec. Litig., 355 F. Supp. 2d 1069, 1093 (N.D.

Cal. 2005).

      Vague “Role and Responsibility” Allegations Fail to Support Scienter. The

CC further alleges that Mr. Lorberbaum’s role as Chief Executive Officer and

Chairman of the Board and position of leadership within Mohawk support scienter.

¶ 376. These allegations are plainly insufficient. See, e.g., Durgin v. Mon, 415 F.

App’x 161, 165 (11th Cir. 2011) (allegations about defendants’ positions in the

company did not support scienter); Waterford Twp. Gen. Emps. Ret. Sys. v.

CompuCredit Corp., No. 1:08-CV-2270-TWT, 2009 U.S. Dist. LEXIS 112839, at

*22 (N.D. Ga. Dec. 3, 2009) (“It is well established that boilerplate allegations that

defendants knew or should have known of fraudulent conduct based solely on their

board membership or executive positions are insufficient” for scienter); Welbilt,

2020 U.S. Dist. LEXIS 33664, at *12-13 (“That a defendant held a senior officer

position alone does not give rise to a strong inference of scienter”); KLX, Inc., 232

F. Supp. 3d at 1281-82 (allegations defendants were “hands-on managers” with

extensive experience failed to support a strong inference of scienter.”).




                                         26
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 36 of 46




      Alleged Access to Company Reports Is Insufficient to Establish Scienter.

The CC asserts that Mr. Lorberbaum’s “access to reports and data,” including the

internal “RoadNet” database, and attendance at meetings support a strong inference

of scienter. See ¶¶ 366-68. But “[u]nder the [PSLRA], Plaintiff must allege specific

facts demonstrating that on or about a certain date, Defendants were directly

confronted with specific information that actually contradicted—or cast serious

doubt upon—their public statements.” Mogensen, 15 F. Supp. 3d at 1120-21. Here,

the CC describes the content of reports Mr. Lorberbaum allegedly received but lacks

specific allegations about how that content contradicted the reported financials or

rendered such statements false or misleading. This is not enough. See Coca-Cola

Enters. Inc., 510 F. Supp. 2d at 1201 (rejecting similar “conclusory allegations that

the Defendants had access to the ‘true facts’” as probative of scienter); see also

Garfield, 466 F.3d at 1264.

      The “Core Business” Allegations Fail. The CC alleges because LVT was an

area of focus for the Company and FNA was “the Company’s most important

business segment,” scienter is established. ¶ 371. Stated differently, the CC

suggests that because FNA was significant to the Company’s operations and its

bottom line, it should be assumed Mr. Lorberbaum was so attuned to that business

that he would have known the statements related to FNA were false. However,

                                         27
        Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 37 of 46




within this Circuit, “such an inference is disfavored.” KLX, Inc., 232 F. Supp. 3d at

1282.

        The Lack of Allegations that Mr. Lorberbaum Had Any Plausible Personal

Motive to Engage in the Purported Schemes Undermines Scienter. Notably, the

CC does not allege Mr. Lorberbaum was the beneficiary of any financial windfall or

otherwise personally benefited financially from the purported fraud beyond

receiving his standard compensation.20 This undercuts any inference of scienter.

Brophy, 781 F.3d at 1306 (no strong inference of scienter where there was “no

allegation that [the CFO defendant] sold [company] stock during the class period or

otherwise profited from the alleged fraud beyond receiving a salary”); Mizzaro, 544

F.3d at 1253 (same); Welbilt, 2020 U.S. Dist. LEXIS 33664, at *12-13 (same).

Further, this Court has held “standard incentive compensation” is insufficient to

demonstrate scienter. In re AFC Enters. Sec. Litig., 348 F. Supp. 2d 1363, 1374

(N.D. Ga. 2004) (absent allegations “showing that the Defendants’ compensation



20
   Mr. Lorberbaum is alleged to have received “substantial performance-based
compensation” in 2017, see ¶¶ 374-75, but the CC lacks allegations that this
compensation arrangement deviated from either Mr. Lorberbaum’s historical
compensation or the standard compensation for similarly situated executives. The
CC is otherwise silent as to any financial incentive Mr. Lorberbaum had to
temporarily inflate the Mohawk stock price to the ultimate detriment of the Company
and his own sizeable investment in it.

                                         28
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 38 of 46




deviates from the incentive packages normally afforded corporate officers, their

allegations of incentive compensation do not support an inference of scienter”).

      Allegations Regarding Mohawk’s Pre-Class Period SEC Filings Add

Nothing To The Scienter Analysis. The CC asserts the Company’s amendment of

its 2015 annual report—before the beginning of the Class Period—supports scienter.

¶ 379. It does not. See Hubbard v. BankAtlantic Bancorp, Inc., 625 F. Supp. 2d

1267, 1290 (S.D. Fla. 2008) (rejecting similar attempt to “use circumstances . . .

prior to the Class Period to argue that each of the [d]efendants engaged in a broad

course of fraudulent conduct during the Class Period”).

      Outlying Allegations About FE1’s September 2018 Revelation of the

Purported Schemes Are Not Enough to Establish Scienter. The CC relies on

allegations by a single unnamed source, FE1, about an “emotional September 2018

meeting” with Mr. Lorberbaum, to demonstrate scienter. ¶ 355. During this

encounter, FE1 purportedly “told [Mr. ]Lorberbaum that [Mr. ]Carson was

‘destroying your company and screwing with your finances.’” ¶ 219. These vague

allegations do not support a strong inference of scienter.

      First, these allegations from a confidential FE—standing alone—cannot meet

the scienter burden in light of the overall weakness of the scienter allegations in the

CC. The “directive that a complaint must be read in its entirety cuts both ways.”

                                          29
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 39 of 46




Metzler Inv. GMBH v. Corinthian Colls., Inc., 540 F.3d 1049, 1069 (9th Cir.

2008). Thus, “a plaintiff cannot avoid dismissal by reliance on an isolated statement

that stands in contrast to a host of other insufficient allegations.” Id. (emphasis in

the original). As the Ninth Circuit Court of Appeals in Metzler explained, “In light

of the [Supreme] Court’s guidance in Tellabs and PSLRA’s heightened standards

for plaintiffs’ securities fraud cases generally,” one such allegation is “not so

indicative of fraudulent intent that it carries the weight of the entire 181-page

complaint for purposes of establishing a ‘strong inference of scienter.’” The same

is true here. The allegations about the September 2018 meeting are insufficient to

demonstrate a strong inference of scienter given that all the other scienter allegations

fail for the reasons previously described.

      Second, assuming the truth of these allegations would only support scienter

after this September 2018 meeting when Mr. Lorberbaum was allegedly made aware

of the purported improprieties and launched his own investigation. The CC thus

concedes that Mr. Lorberbaum lacked the requisite scienter with regard to any

statement prior to September 2018, including the alleged statements from April 2017




                                          30
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 40 of 46




until September 2018, and therefore those statements warrant dismissal. See ¶¶ 264-

324 (contested statements prior to the alleged September 2018 meeting).21

      None of the CC’s scienter allegations, considered individually or together,

support the strong inference of scienter required by the PSLRA. Accordingly, the

CC warrants dismissal.

      D. The CC Fails to Allege Loss Causation.

      Even if the CC adequately alleged both a material misstatement or omission

and scienter—which it does not—“dismissal is required because the [CC] fails to

adequately plead loss causation.” In re Witness Sys., No. 1:06-CV-1894, 2008 U.S.

Dist. LEXIS 109174, at *32 (N.D. Ga. Mar. 31, 2008); see also Sapssov v. Health

Mgmt. Assocs., 608 F. App’x 855, 863 (11th Cir. 2015) (affirming dismissal of

securities class action for failure to allege loss causation); Barr, 324 F. Supp. 2d at

1380 (holding where plaintiff “fail[ed] to plead loss causation, dismissal of his

Exchange Act claims against the Defendants [was] warranted”).



21
   Indeed, the CC alleges that Mr. Lorberbaum had to “look into” the accusations by
FE1 and commence an investigation in order to substantiate the report from FE1, see
¶¶ 224, 356, which confirms he lacked knowledge of the alleged schemes before that
alleged meeting. The CC goes so far as to quote Mr. Lorberbaum as saying he
“d[idn’t] know how [he] missed” the alleged fraudulent schemes. ¶ 356. Moreover,
this allegation contradicts another of the CC’s flawed theories of scienter, namely,
that Mr. Lorberbaum “should have known” of the alleged fraud based on his role
and responsibilities at Mohawk, which fails in any event as explained further above.

                                          31
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 41 of 46




      To establish that Plaintiff’s investment losses were caused by purported

misstatements, the CC must allege “not only that a fraudulent misrepresentation

artificially inflated” Mohawk’s stock price at the time of Plaintiff’s purchases, “but

also that the fraud-induced inflation that was baked into the plaintiff’s purchase price

was subsequently removed from the stock’s price” at the time Plaintiff sold its

Mohawk stock. Greene, 710 F.3d at 1196 (quotations and citation omitted). A

complaint must be dismissed if the alleged corrective disclosures “do[ ] not identify,

reveal, or correct any prior misstatement, omission or improper accounting practice”

or, alternatively, “where the disclosure does not specifically relate to the issues

involved in the alleged fraudulent scheme.” Durham v. Whitney Info. Network, Inc.,

No. 06-CV-00687, 2009 U.S. Dist. LEXIS 113757, at *57 (M.D. Fla. Nov. 10,

2009).

      In the present case, the CC does not allege that the purported schemes were

ever disclosed by the Company. Instead, the CC concedes the declines in Mohawk’s

stock price followed the announcement of financial results that fell short of

guidance, rather than the disclosure of any restatement or revelation of Company-

wide schemes. See ¶¶ 238-42 (alleging July 26, 2018 announcement disclosed

“Disappointing Q2 2018 Earnings”), 245-49 (alleging October 26, 2018

announcement disclosed “Disappointing Q3 2018 Results”), 253-54 (alleging July

                                          32
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 42 of 46




26, 2019 announcement disclosed “Disastrous Results for Q2 2019”). “[S]ince

nothing in the[se] statements corrects any prior disclosures . . . or reveals any

omissions . . . that negatively affected the price of [the Company’s] common stock,”

the CC “has failed to adequately allege loss causation.” Kinnett v. Strayer Educ.,

Inc., 501 F. App’x 890, 894 (11th Cir. 2012); see also Barr, 324 F. Supp. 2d at 1380

(holding where disclosure “did not discuss the subject matter of the alleged fraud, as

a matter of law, the decline in the company’s trading price . . . cannot be considered

a reaction to the disclosure of the alleged fraud.”) (internal quotations omitted).

      In Durham, the Court addressed a similar situation where the allegedly

corrective disclosures “d[id] not mention, much less relate, to any of plaintiff’s

theories of securities fraud.” 2009 U.S. Dist. LEXIS 113757, at *68. The Court

concluded, “The disconnect between the text of the [alleged corrective disclosures],

the theories of fraud, and the allegations of wrongdoing leads to the conclusion that

the case is not about securities fraud. Rather, it is about an attempt to find securities

fraud after the Company's stock price fell . . .” Id. at *69. The same is true of the

instant case. Here, as in Durham, such allegations “bring[ ] to mind the Latin phrase

post hoc ergo procter hoc. Simply because the stock dropped in price does not mean

that the drop was the result of securities fraud.” Id. Because the CC fails to plead

the essential element of loss causation, it should be dismissed in its entirety.

                                           33
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 43 of 46




      E. The Section 20(a) Claim Against Mr. Lorberbaum Fails.

       In light of the CC’s failure to adequately allege a primary predicate violation

of Section 10(b), the claim for control-person liability under Section 20(a), 15 U.S.C.

§ 78t(a), must also be dismissed. See Galectin Therapeutics, 843 F.3d at 1276

(“Control person liability is secondary only and cannot exist in the absence of a

primary violation.”) (quotation marks and citation omitted); Mizzaro, 544 F.3d at

1237 (“Because a primary violation of the securities laws is an essential element of

a § 20(a) derivative claim, we have held that a plaintiff adequately pleads a § 20(a)

claim only if the primary violation is adequately pleaded.”).

IV.   CONCLUSION

      For the foregoing reasons, Defendants respectfully request that their Motion

to Dismiss be granted and that the CC be dismissed with prejudice.




                                          34
     Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 44 of 46




     Respectfully submitted this 27th day of October, 2020.


ALSTON & BIRD LLP                       PARKER, HUDSON, RAINER &
                                        DOBBS LLP

/s/ Robert R. Long_______________       /s/ William J. Holley_____________
John L. Latham                          William J. Holley, II
Georgia Bar No. 438675                  Georgia Bar No. 362310
Robert R. Long                          Scott E. Zweigel
Georgia Bar No. 141546                  Georgia Bar No. 786616
Elizabeth Gingold Clark                 303 Peachtree Street N.E.
Georgia Bar No. 917979                  Atlanta, Georgia 30308
Courtney E. Quirós                      Telephone: (404) 523-5300
Georgia Bar No. 527069                  Facsimile: (404) 522-8409
1201 West Peachtree Street              Emails: wholley@phrd.com
Atlanta, Georgia 30309-3424                      szweigel@phrd.com
Telephone: (404) 881-7000
Facsimile: (404) 881-7777               MORVILLO ABRAMOWITZ
Emails: john.latham@alston.com          GRAND IASON & ANELLO PC
        robert.long@alston.com
        elizabeth.clark@alston.com      Richard D. Weinberg (Appearing Pro
        courtney.quiros@alston.com      Hac Vice)
                                        William C. Kinder (Appearing Pro
Counsel for Mohawk Industries, Inc.     Hac Vice)
                                        565 Fifth Avenue
                                        New York, New York 10017
                                        Telephone: (212) 856-9600
                                        Facsimile: (212) 856-9494
                                        Email: rweinberg@maglaw.com
                                               wkinder@maglaw.com

                                        Counsel for Jeffrey S. Lorberbaum




                                      35
     Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 45 of 46




                  LOCAL RULE 7.1D CERTIFICATION

      By signature below, counsel certifies that the foregoing document was

prepared in Times New Roman, 14-point font in compliance with Local Rule 5.1C.



                                    /s/ Robert R. Long
                                    Robert R. Long
                                    Georgia Bar No. 141546
      Case 4:20-cv-00005-ELR Document 54-1 Filed 10/27/20 Page 46 of 46




                         CERTIFICATE OF SERVICE

      I hereby certify that on the 27th day of October, 2020, I electronically filed

the foregoing MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO

DISMISS PLAINTIFF’S CONSOLIDATED CLASS ACTION COMPLAINT with

the Clerk of Court using the CM/ECF system, which will automatically send

notification of such filing upon Counsel of Record.

      This 27th day of October, 2020.



                                        /s/ Robert R. Long
                                        Robert R. Long
                                        Georgia Bar No. 141546
